
PER CURIAM.
To the extent the Court of Appeals ordered remand of defendant's case for resentencing, we reverse and remand to that court for reconsideration in light of State v. Hurt, 361 N.C. 325, 643 S.E.2d 915, (2007), and State v. Blackwell, 361 N.C. 41, 638 S.E.2d 452 (2006), cert. denied, ___ U.S. ___, 127 S.Ct. 2281, ___ L.Ed.2d ___ 75 U.S.L.W. 3609 (2007). The Court of Appeals opinion remains undisturbed in all other respects.
REVERSED IN PART AND REMANDED.
Justice HUDSON did not participate in the consideration or decision of this case.
